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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                   )
                                             )
                Plaintiff,                   )                  Cr. No. 17-2558 MV
                                             )
        vs.                                  )
                                             )
 ARTHUR PERRAULT,                            )
                                             )
                Defendant.                   )
                                             )

 UNITED STATES’ MOTION IN LIMINE TO PRECLUDE EVIDENCE OF OR
         IMPEACHMENT BASED ON THIRD-PARTY REPORTS
                  PREPARED BY FBI AGENTS

       The United States respectfully moves this Court in limine for an order precluding

Defendant from offering any FBI investigative reports as evidence at trial or impeaching

any prosecution witnesses with these reports.

       I.      Applicable Law

       Pursuant to Fed. R. Crim. P. 16(a)(2), “reports, memoranda, or other internal

government documents” made by a “government agent in connection with investigating

or prosecuting the case are not discoverable” before trial. However, after a witness

testifies for the United States at trial, the prosecution must provide the defense with any

statements by the witness that are in the government’s possession and relate to the subject
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matter of the witness’s testimony. 18 U.S.C. § 3500(b). 1 For these purposes, a

“statement” means:

       (1)    a written statement made by said witness and signed or otherwise
       adopted or approved by him;
       (2)    a stenographic, mechanical, electrical, or other recording, or a
       transcription thereof, which is a substantially verbatim recital of an oral
       statement made by said witness and recorded contemporaneously with the
       making of such oral statement;

       (3)   a statement, however taken or recorded, or a transcription thereof, if
       any, made by said witness to a grand jury.

       The “primary” purpose of this disclosure rule is to provide the defense with a fair

opportunity to impeach the credibility of the prosecution’s witness. United States v.

Valdez-Gutierrez, 249 F.R.D. 368, 373 (D.N.M. 2007) (Parker, J.) (citing Palermo v.

United States, 360 U.S. 343, 349 (1959); United States v. Smaldone, 544 F.2d 456, 462

(10th Cir. 1976)). However, the scope of the rule is limited to the testifying witness’s

statements only. The United States is not required to disclose a report of a witness

interview prepared by an investigator or other third party unless the testifying witness has

personally “adopted” the report. Id. at 372. This occurs when the testifying witness “either

had some part in making” the report or “participated in conducting the underlying

investigation and later approved the accuracy of the contents of the . . . report[.]” Id.

       Similarly, the notes of “prosecutors or other government agents during a pretrial

interview of a [testifying] witness” are not statements within the meaning of the rule.

United States v. Smith, 31 F.3d 1294, 1301 (4th Cir. 1994). They do not need to be


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 Both parties have a similar requirements to produce witness statements under Fed. R. Crim. P.
26.2.
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disclosed unless the testifying witness “has reviewed them in their entirety – either by

reading them himself or by having them read back to him – and formally and

unambiguously approving them – either orally or in writing – as an accurate record of what

he said during the interview.” Id.

       Of course, the rule against hearsay generally prohibits a party from offering

evidence at trial of any out of court statements offered for their truth. See Fed. R. Evid.

802. However, a party may impeach an adverse witness based on prior inconsistent

statements. United States v. Caraway, 534 F.3d 1290, 1295 (10th Cir. 2008) (citing United

States v. Soundingsides, 820 F.2d 1232, 1240 (10th Cir. 1987)). Indeed, “[T]he testimony

of a witness, after a proper foundation has been laid, may be impeached by showing former

declarations, statements, or testimony which are contradictory or inconsistent with the

answers given at trial.” Soundingsides, 820 F.2d at 1240. Nevertheless, trial courts are

guided by a “judicial concern about assuring the accuracy of the written account of a

witness statement, prepared by someone other than the witness[.]” Valdez-Gutierrez, 249

F.R.D. at 373.

       II.      Argument

       In this case, the United States has voluntarily provided Defendant with several FBI

reports documenting pretrial interviews with John Doe and others testifying witnesses.

Investigators prepared these reports from notes taken during the interviews. These notes

were not verbatim recitals of the testifying witnesses’ statements. The testifying witnesses

did not review the notes or assist in making the reports. The testifying witnesses did not



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sign the reports. They did not otherwise adopt or approve the notes or reports in any

fashion.

       Under these circumstances, this Court should preclude Defendant from offering

these reports as evidence at trial, as they are clearly inadmissible under the rule against

hearsay. See Fed. R. Evid. 702. The Court should also preclude Defendant from attempting

to impeach the credibility of these testifying witnesses by showing them the reports or

referring to them during cross-examination. To be sure, the rules of evidence allow

impeachment of testifying witnesses based on their own prior inconsistent statements.

Caraway, 534 F.3d at 1295. However, these reports are the statements of the FBI agents,

not of the testifying witnesses themselves. See 18 U.S.C. § 3500(b). Allowing these

reports into evidence or permitting impeachment based on these reports goes completely

against the judicial interest in assuring the accuracy of witness statements presented as

evidence in court. See Valdez-Gutierrez, 249 F.R.D. at 372.

       Defendant opposes this motion.

       III.   Conclusion

       WHEREFORE, the United States motion to preclude should be granted.


                                                 Respectfully submitted,


                                                 JOHN C. ANDERSON
                                                 United States Attorney

                                                 /s
                                                 SEAN J. SULLIVAN
                                                 HOLLAND S. KASTRIN
                                                 Assistant U.S. Attorneys

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I hereby certify that a copy of this
motion was delivered via CM/ECF
to counsel for defendant.
 filed electronically
Sean J. Sullivan




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